                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                1:12 CR 066


UNITED STATES OF AMERICA,                      )
                                               )
      Plaintiff                                )
                                               )
      V                                        )              ORDER
                                               )
GARY HOFFMAN,                                  )
                                               )
      Defendant.                               )



      THIS MATTER is before the court on Sean P. Devereux’s Application for

Admission to Practice Pro Hac Vice of Michael E. Weinstein. It appearing that

Michael E. Weinstein is a member in good standing with the Pennsylvania State Bar

and will be appearing with Sean P. Devereux, a member in good standing with the Bar

of this court, that all admission fees have been paid, and that the email address of the

attorney seeking admission has been provided, the court enters the following Order.

                                     ORDER

      IT IS, THEREFORE, ORDERED that Sean P. Devereux’s Application for

Admission to Practice Pro Hac Vice (#17) of Michael E. Weinstein is GRANTED,

and that Michael E. Weinstein is ADMITTED to practice, pro hac vice, before the

Bar of this court while associated with Sean P. Devereux.




    Case 1:12-cr-00066-MR-DLH        Document 19      Filed 07/05/12   Page 1 of 2
                                Signed: July 5, 2012




                                2




Case 1:12-cr-00066-MR-DLH   Document 19    Filed 07/05/12   Page 2 of 2
